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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA                     :   CASE NO:
                                             :
       v.                                    :   VIOLATIONS:
                                             :
MELANIE M. ARCHER &                          :   18 U.S.C. § 1752(a)(1),
JORDAN BONENBERGER                           :   (Entering and Remaining in a
    Defendants.                              :   Restricted Building or Grounds)
                                             :   18 U.S.C. § 1752(a)(2),
                                             :   (Disorderly and Disruptive Conduct in a
                                             :   Restricted Building or Grounds)
                                             :   40 U.S.C. § 5104(e)(2)(D),
                                             :   (Disorderly Conduct in a Capitol Building)
                                             :   40 U.S.C. § 5104(e)(2)(G),
                                             :   (Parading, Demonstrating, or Picketing in a
                                             :   Capitol Building)

     MOTION TO SEAL AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves for an order to place and maintain under seal, until the Arrest

Warrant is executed, the Affidavit in Support of Criminal Complaint, Criminal Complaint, and

Arrest Warrant in the above-captioned matter, this Motion and Supporting Memorandum, the

proposed Order attached to this Motion, and any Order granting this motion. In support thereof,

the government states as follows:

   1. The United States is investigating allegations that Melanie M. Archer and Jordan

Bonenberger willfully and knowingly entered the United States Capitol on January 6, 2021,

without legal authority, and participated in destruction of Government Property in violation of 18

U.S.C. § 1752(a)(1), 18 U.S.C. § 1752(a)(2), 40 U.S.C. § 5104(e)(2)(D), and 40 U.S.C. §

5104(e)(2)(G).
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   2. The Affidavit in Support of Criminal Complaint references evidence gathered in the course

of the investigation, including the use of a digital device in furtherance of the crime. The public

disclosure of the Government’s evidence could compromise the integrity of the investigation,

including the ability of the United States to locate and arrest the defendant, which also may lead

to the destruction of evidence in other locations including the digital device. Thus, a sealing order

is necessary to avoid hindering the ongoing investigation in this matter.

   3. As stated in Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999), there is a

presumption of access to Court proceedings. But, this can be overridden if “‘(1) closure serves a

compelling interest; (2) there is a substantial probability that, in the absence of closure, this

compelling interest would be harmed; and (3) there are no alternatives to closure that would

adequately protect the compelling interest.’” Id. at 290 (quoting Oregonian Pub. Co. v. United

States Dist. Court, 920 F.2d 1462, 1466 (9th Cir. 1990)).

   4. In this matter, the United States has a compelling interest in preserving the integrity of its

investigation and arresting the defendant. A limited sealing order ensuring that filings related to

the Criminal Complaint and Arrest Warrant are not accessible from the Court’s public files is

narrowly tailored to serve a compelling interest.

   5. Furthermore, the United States respectfully submits that complying with the normal notice

requirements of Washington Post would defeat the purpose of the motion to seal. Persons who

know the criminal justice system also know that docketing a motion to seal an Affidavit in Support

of Criminal Complaint and Arrest Warrant, or a resulting sealing order, means that the defendant

is charged with a crime, and the Government intends to arrest him. Thus, if this Motion or a sealing

order were to become public, it would be the same as making public the Complaint and Arrest

Warrant.




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       WHEREFORE, the United States respectfully requests that this Court issue an Order

directing that the Clerk of the Court place and maintain under seal, until execution of the Arrest

Warrant, the Affidavit in Support of Criminal Complaint, this Motion and Supporting

Memorandum, the proposed Order attached to this Motion, and any Order granting this motion.



Respectfully submitted,                             MATTHEW M GRAVES
                                                    UNITED STATES ATTORNEY
                                                    D.C. Bar No. 481052.

                                                By: /s/Elizabeth Rogers
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